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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                   8:05CR106
                                               )
              v.                               )
                                               )                     ORDER
IGNACIO MARTINEZ-ROBLEDO,                      )
                                               )
                      Defendant.               )
                                               )


       IT IS ORDERED that a change of plea for the defendant, Ignacio Martinez-Robledo,

is scheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska

U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on July 27, 2005, at 10:30

a.m. Since this is a criminal case, the defendant shall be present, unless excused by the

court. If an interpreter is required, one must be requested by the plaintiff in writing five (5)

days in advance of the scheduled hearing.

       DATED this 12th day of July, 2005.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
